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EXHIBIT “E”
Schuel of Medicine } Corn: #0 tes 264, Petco seik Dynes, Wee fadion
Ades Stine Olfices: 399 Thornocth Strect. £2" Floor

Office of the Registrar |t.

»)} ROSS

UNIVERSITY

 

Sune 29, 2006

 

Dear Anand E Dasrath:

I regret to inform you that effective immediately you have been Administratively Withdrawn from Ross
University, School of Medicine for failure to register for the May 2006 AICM course. RUSM policy dictates
that students must successfully complete the AICM course and pass USMLE Step 1 before advancing into the
clinical curriculum. In order for a student to remain enrolled with RUSM, they must either be registered for
courses and/or registered for the Boards. Once a student becomes inactive, they are Administratively
Withdrawn from RUSM.

Picase be advised that if you are a recipient of federal guaranteed student loans, we must inform your lender{s}
that you have not attended Ross Univessity since the fast day you attended classes or rotated in a clinical

clerkship. The impact of your withdrawn status on your federal guaranteed student loans will depend on your
specific situation, applicable regulations and the tenns and conditions of your lean{s).

Should you ever wish to resume your studies at Ross University School of Medicine, you will be required to
submit an application for re-adinission to the Admissions Department and be reviewed by the Admissions
‘Committee. To do so, please complete an Admissions application, indicating the reasons of your withdrawal,
and submit it to the Admissions Office.

Best wishes in your future endeavors,

Sincerely,
Michael Rendon

University Registrar

Ce: Bursar”
Financial Aid
Clinical Department

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